  Case: 3:94-cv-00078-RAM-RM Document #: 1073 Filed: 01/04/19 Page 1 of 2



                DISTRICT COURT OF THE VIRGIN ISLANDS
                 DIVISION OF ST. THOMAS & ST. JOHN

LAWRENCE CARTY, et al.,                 )
                                        )
                Plaintiff,              )
                                        )
                v.                      )     Civil No. 1994-78
                                        )
KENNETH MAPP, et al.,                   )
                                        )
                Defendants.             )
                                        )

ATTORNEYS:

Eric Balaban
National Prison Project of the ACLU
Washington, DC
     For the plaintiff Lawrence Carty,

Joseph Ponteen, Acting Attorney General
Shari N D’Andrade, AAG
Carol Thomas-Jacobs, AAG
Virgin Islands Department of Justice
Christiansted, VI
     For the defendant Governor Kenneth Mapp.

                                  ORDER
GÓMEZ, J.

     The parties in this matter have reached agreement on

several goals that Governor Kenneth Mapp and the Bureau of

Corrections (“BOC”) will achieve within the current quarter

ending February 1, 2019. See ECF No. 1059 Ex. A. Lawrence Carty

has filed a motion requesting that the Court order two

additional quarterly goals that the BOC should accomplish within

the current quarter. See ECF No. 1059. One such suggested goal

is to complete training on the following Use of Force policies:
  Case: 3:94-cv-00078-RAM-RM Document #: 1073 Filed: 01/04/19 Page 2 of 2
Carty v. Mapp
Civil No. 94-78
Order
Page 2

Umbrella Use of Force, Restraint Devices, Video Recording, Cell

Extractions, and Reporting Requirements.

      The premises considered, it is hereby

      ORDERED that by the end of the current quarter, the BOC

shall submit a plan detailing how and when training will be

completed on the Use of Force policies including: Umbrella Use

of Force, Restraint Devices, Video Recording, Cell Extractions,

and Reporting Requirements; it is further

      ORDERED that no later than March 15, 2019, the BOC shall

complete training on the Use of Force policies including:

Umbrella Use of Force, Restraint Devices, Video Recording, Cell

Extractions, and Reporting Requirements; it is further

      ORDERED that Carty’s motion for additional goals, ECF No.

1059, is DENIED; and it is further

      ORDERED that Carty’s motion for additional goals, ECF No.

1035, is MOOT.


                                        S\
                                              Curtis V. Gómez
                                              District Judge
